Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 1 of 10



                              UNITED STATES DISTRICT COURT
                              SO UTHERN DISTRICT OF FLORIDA

                              Case No.17-61786-CIV-W lLLIAM S

  SCOU A .NIRK,

            rlllpirltiff,

  VS.

  SETERUS ,INC.,and FEDERAL NATIO NAL
  M ORTGAG E ASSOCIATIO N,

            Defendants.
                                                /

                                    SCHEDULING O RDER
        THIS MATTER is setfortrialduring the Court's two-week trialcalendarbeginning

  on October 29,2018 before the Honorable Kathleen M .W illiam s at 400 North Miam i

  Avenue,Coudroom 11-3,M iam i,Florida. Calendarcallw illbe held at 11:00 a-m .on

  October 23,2Q18. A requestfora pre-trialconference m ustbe filed at least30 days

  priorto the calendarcall. Additionally,counselare advised thataIIfilings m ustcom ply

  fully with the FederalRules ofCivilProcedure,the LocalRules forthe Southern District

  of Florida, and this Coud's Practices and Procedures, w hich can be found at:

  hop'
     .//-        .flsd.uscouds.gov/?page id=l3o7l.
                                       -




                Schedule. The Padies shalladhere to the following schedule:

        Decem ber8,2017               The Padies shall furnish Iists w ith nam es and

                                      addresses offactw itnesses in accordance with Rule

                                      26 of the Federal Rules of Civil Procedure. The

                                      Padies are under a continuing obligation to
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 2 of 10



                               supplementdiscovery responseswith ten (10)daysof
                               receiptorothernotice ofnew orrevised inform ation.



        January 8,2018         The Padies shallfile m otions to am end pleadings or

                              join Padies.


       April13,2018           The Plaintiff shall disclose experts, expert witness

                              sum m aries and reports.



       April13,2018           The Defendantshalldisclose expeds,expertwitness

                              sum m aries and repods.



       M ay 11,2018           The Padies shall exchange rebuttal exped witness

                              sum m aries and repods.



       June 8,2018            The Parties shall com plete aII discovery, including

                              exped discovery.



       M arch 9,2018          The Parties shall com plete m ediation and file a

                              m ediation repod with the Coud.



       July 6,2018            The Padies shallfile aIIdispositive pre-trialm otions

                              and m em oranda of Iaw. The Parties shallalso file
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 3 of 10



                               any m otions to strike or exclude expert testim ony,

                               w hetherbased on FederalRule ofEvidence 702 and

                               Daubert e. M errell Dow Pharm aceuticaIst Inc., 509

                               U.S.579 (1993),orany anotherbasis.


       July 27,2018            The Parties shalleach file one m otion in Iim ine in

                               accordance w ith Section IV below . All m otions in

                               Iim ine m ustbe filed atIeastsix weeks before calendar

                               call.



       August3,2018            The Padies shallfile a jointpre-trialstipulation,exhibit
                               Iists,and witness Iists in accordance w ith LocalRule

                               16.1(d) and (e)and Section V below. The Padies
                               shall also file proposed jury instructions or
                               conclusions of Iaw (fornonjury trials)in accordance
                               with Section VIbelow.



       August10,2018           The Padi
                                      es shallfile theirdeposi
                                                             tion designations in

                               accordance w ith Section VIIbelow.



          Mediation. W ithin thirty (30)days ofthe date ofthis Order,the Parties
          shall: selecta m ediator certified under LocalRule 16.2(b);schedule a
          tim e,date,and place for mediation;and jointly file a proposed order
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 4 of 10



            scheduling m ediation as shown on the Sam ple Form Order Scheduling

            Mediation found in the Form s located on the Court's website Ifthe Parties
                                                                          .




            cannotagree on a m ediator,they shallnotify the Clerk in wri
                                                                       ting im m ediately,

            and the Clerk shalldesignate a certified m ediator on a blind rotation basis.




            Counselfor aIIParties shallfam iliarize them selves w ith,and adhere to, aII

            provisions ofLocalRule 16.2.

     111.   M otions. Strict com pliance with the LocalRules is expected w ith regard to

            m otion practice. See Local Rule            For exam ple, when filing non-

            dispositive m otions,the m oving Pady SHALL subm it a proposed order in

            W ord format via emailto chambers atW illiams@ flsd.uscouds.gov. Local
            Rule 7.1(a)(2). Counselforthe moving party MUST also confer,ormake a
            reasonable effortto confer,before filing certain m otions,as required by Local

            Rule 7.1(a)(3).
               AIImotions and attachm ents to m otions are required to be filed in a text

            searchable formatpursuantto CM/ECFAdministrative Procedure 3G(5).
               Strict com pliance with the Local Rules is also expected with regard to

            motions forsummary judgment. See LocalRule 56.1. Forexample,the
            moving Party m ustcontem poraneously file a statem entofundisputed m aterial

            facts, delineating by num ber each materialfact,supported w ith specific

            citations to the record (Docket Entry, Exhibit, Page Num beqsl). The
            opposing Pady m ustfile contem poraneously w ith its opposition a response to

            the statem entofm aterialfacts,which shallrespond by corresponding num ber

            to each ofthe moving Pady's statementofmaterialfacts. LocalRule 56.1(a).
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 5 of 10



          The opposing Pady shall state, based on citations to the record,whether

          each factis disputed orundisputed. Ifthe factis disputed,the opposing Pady

          shallstate why the dispute is a m aterialone. 'Allm aterialfacts setforth in the

          m ovant's statem ent ...willbe deem ed adm itted unless controveded by the

          opposing pady's statem ent,provided thatthe Courtfinds thatthe m ovant's

          statem ent is supported by evidence in the record.'' Local Rule 56 1(b).  .




          These procedures shaslalso apply to the m oving Party w hen responding to

          any additionalfacts set fodh in the opposing Pady's statem ent of m aterial

          facts.

             The Parties m ay stipulate to extend the tim e to answer interrogatories,

          produce docum ents and answer requests for adm ission. The Parties shall

          notfile w ith the Court notices or motions mem orializing any such stipulation

          unless the stipulation interferes with the tim e setforcom pleting discovery,for

          hearing a m otion,orfortrial. Such stipulations m ay be m ade only with the

          Court's approval. See Fed. R. Civ. P. 29. In addition to the docum ents

          enumerated in Local Rule 26.1(b), the Padies shall not file notices of
          deposition with the Court.

             Any Pady seeking to m ake a filing undersealshallcom ply w ith LocalRule

          5.4.The Padiescannotoverride the requirementsofthatRule through a joint
          protective order.

             Any party seeking to change any ofthe above deadlines m ustfile a Motion

          to Continue orM otion forExtension ofTim e. Notices of unavailability w ill
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 6 of 10



          notbe construed as m otions to continue orothe- ise operate to change

          the Court's schedule in any w ay.

     IV. Motions in Limine.The Partiesmayeach submitonlyone (1)motion in Iimine
          thatidentifies up to ten (10)evidentiary issuesthey seekto raise to the Coud.
          The motion m ay notexceed G enty (20)pages in Iength. Each evidentiary
          issue m ust be num bered,and m ustspecifically identify the evidence sought

          to be excluded or included attrial,with citations to legalauthority supporting

          the evidentiary ruling requested.      The opposing party's responses in

          opposition to the m otions in Iim ine shallcorrespond with the order and with

          the num bering schem e used by the m ovant. Any reply from the m ovantm ust

          also correspond with the order and num bering used in the m ovant's initial

          m otion.

             Prior to filing a m otion in Iim ine, the Padies M UST m eet and confer

          regarding each evidentiary issue they intend to raise,and certify thatthey m et

          and conferred in accordance with LocalRule 7.1(a)(3). The Parties may only
          present those evidentiary issues that rem ain contested in their respective

          m otions in lim ine.

    V.    Pre-TrialStipulation,ExhibitLists.and W itness Lists. The Padies'jointpre-
          trial stipulation, exhibit Iists, and witness Iists m ust be subm itted in

          accordance with LocalRule 16.1(d)and (e). The Padies mustsubmittheir
          witness Iists in the form at provided in Attachm entA,and theirexhibit Iists in

          the form at provided in Attachm ent B. The witness lists shallinclude only

          those witnesses the Padies actually intend to callattrial. In the description
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 7 of 10



           for each witness,the Party shallinclude a brief synopsis of the witness's

           testim ony,the exhibits thatthe Party intends to introduce through the witness,

           and, in consultation with opposing counsel,the estim ated time needed for

           directand cross exam ination. The exhibitIists shallidentify each witness that

           willintroduce each exhibit.

     VI.   Jurv Instructions orConclusions of Law (forNon-lurv Trials). Jointproposed

           jury instructions orconclusions ofIaw (fornonjury trials)shalloutline:1)the
           Iegalelements of Plaintiffs claims, including damages'
                                                                , and 2) the Iegal
           elem ents ofthe defenses thatare raised. The Padies shallsubm i
                                                                         t proposed

           jury instructions jointly, though they need not agree on each and every
           instruction. If the Parties do not agree on a proposed instruction, the

           language proposed by plaintiffshallbe underlined and the Ianguage proposed

           by defendant shallbe italicized. Every instruction m ust be suppoded by a

           citation ofauthority. The Padies shalluse the Eleventh Circuit Pattern Jury

           Instruction forCivilCases,including the directions to counsel. Ifa deviation

           from the Pattern is requested,the parties shallspecifically provide a ci
                                                                                  tation

           ofauthority suppoding the deviation. The Padies shallsubm ittheirproposed

           instructions   via    em ail         W ord    form at    to   cham bers     at

           W illiams@ flsd.uscourts.gov.
    VII.   Deposition Desinnations. For each unavailable witness, the Padies shall

           confer and submit a joint deposition designation. The party offering the
           testimony shallselect a color and highlight the pages and Iines w hich they

           wish to introduce. The non-introducing pady shallthen underline in red the
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 8 of 10



          portions ofthe designated testimony objected to and in the margins indicate
          the basisforthe objection (j.e.,irrelevant,hearsay,etc.).The non-introducing
          pady shallalso selecta colorand subm itto the Courtthose additionalpages

          and Iines thatthey deem counterdesignated. In turn,the introducing party

          shall underline in red the podions of the counter-designated testim ony

          objected to and indicate in the marginsthe basis fortheirobjection.
    VIII. Settlem ent. If the case settles in w hole or in pad,counselm ust inform the

          Coud immediately by emailing chambers atW illiams@ flsd.uscourts.gov and
          promptlythereafterfiling ajointstipulationofdism issal.

       DONEAND ORDERED i
                       nchambersi
                                nMi
                                  ami,Flori
                                          da,this7r dayof
  Decem ber,2017.


                                              KATHLEE M .W ILLIAM S
                                              UNITED ATES DISTRICT JUDGE
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 9 of 10



                                   ATTACHM ENT A

                           UNITED STATES DISTRICT CO URT
                           SO UTHERN DISTRICT OF FLORIDA
                           Case No.XX-XXXXX-CIV-W ILLIAM S

   PARTY NAM E,

          Plaintifqs),
   VS.

   PARTY NAM E,

          Defendantts).
                           /

                                 IPARTY'SIW ITNESS LIST

PRESIDING JUDGE:                                 PLAINTIFF'S       DEFENDANT'S
Hon                                              ATTORNEY          ATTORNEY
   . Kat
       hleen M.W illiams

TRIALDATEIS):                                    COURT REPORTER    COURTROOM DEPUTY

PL DEF LIVE orBY DIREC CROS          ADDRESS         DESCRIPTION OFW ITNESS      EXHIBITI
F. .   DEPOSITI    T      S                                                      S)
NO NO.    ON     (est.) (est.)
Case 0:17-cv-61786-KMW Document 18 Entered on FLSD Docket 12/04/2017 Page 10 of 10



                                      ATTACHM ENT B

                              UNITED STATES DISTRICT CO URT
                              SOUTHERN DISTRICT OF FLO RIDA
                              Case No.XX-XXXXX-CIV-W ILLIAM S

    PARTY NAM E,

            Plaintiffts),
   VS.

   PARTY NAM E,

            Defendantts).
                              /
                                    IPARTY'SIEXHIBIT LIST

PRESIDING JUDGE:                                            PLAINTIFF'S   DEFENDANT'S
Hon.                                                        AU ORNEY      AU ORNEY
     Kathleen M .W illiam s

TRIALDATEIS):                                               COURT         COURTROOM
                                                            REPORTER      DEPUTY


PLF. DEF. DATE   OBJECTIONS MARKED ADMITTED DESCRIPTION OF EXHIBITS W ITNESS
NO. NO . OFFERED
